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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
     Plaintiff-Appellee,                   )
                                           )
     v.                                    )     No. 98 CR 434-9
                                           )    (USCA No. 07-2764)
MICHAEL BLACK,                             )
                                           )
     Defendant-Appellant.                  )

                             MEMORANDUM ORDER

     Michael Black (“Black”) continues to abuse the judicial

system with an endless barrage of groundless filings--most

recently, his Motion for Reconsideration (again!) that was filed

October 30.     This Court has sought to be most patient in

explaining to Black why he is not entitled to judicial relief,

issuing memorandum order after memorandum order and opinion after

opinion to do so.     This time the current motion is simply denied

out of hand.



                              ________________________________________
                              Milton I. Shadur
                              Senior United States District Judge

Date:     November 6, 2007
